                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER


  WEST WARREN-VIOLA                                   )
  UTILITY DISTRICT,                                   )
                                                      )
                 Plaintiff,                           )
                                                      )
         v.                                           )   Case No. 4:12-cv-17
                                                      )
  AMERICAN ALTERNATIVE INSURANCE                      )   Chief Judge Mattice
  CORPORATION,                                        )
                                                      )   Magistrate Judge Carter
                 Defendant.                           )
                                                      )



         ORDER GRANTING JOINT MOTION FOR REMAND TO STATE COURT

         Upon the agreement of the parties as reflected in their Joint Motion for Remand to State

  Court, the Court finds that as of March 15, 2012, Plaintiff amended its state court complaint to

  clarify that damages in this matter will not exceed $43,000.00. Since the stipulated maximum

  amount of damages recoverable ($43,000.00) is below the jurisdictional amount, the Court finds

  that the basis for federal diversity jurisdiction is removed and that this action should be

  remanded to state court.

         It is therefore ORDERED that this matter is remanded to the Circuit Court for Warren

  County, Tennessee for further proceedings.



                                                 ______________________________
                                                 Harry S. Mattice, Jr.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been delivered via U.S.
  Mail, postage prepaid, to Robert W. Newman, Galligan & Newman, Counsel for Plaintiff, P.O.
  Box 289, McMinnville, Tennessee 37111 on this the 20th day of March, 2012.



                                                       /s/ Lisa M. Carson
                                                       Lisa M. Carson




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